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 4                                                            CEN7FiAL DISTRICT ~~'
                                                              RV                    CALIFORNIA
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 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                   SOUTHERN DIVISION

11                               September 2018 Grand Jury

12     UNITED STATES OF AMERICA,                SA CR No. l
                                                             ~ACR19                 ~000
13                Plaintiff,                    I N D I C T M E N T                              ~~ S

14                v.                            [18 U.S.C. ~ 1343: Wire Fraud;
                                                26 U.S.C. ~ 7202: Willful Failure
15     MICHAEL JOHN AVENATTI,                   to Collect and Pay Over Withheld
                                                Taxes; 26 U.S.C. ~ 7212(a):
16                Defendant.                    Endeavoring to Obstruct the
                                                Administration of the Internal
17                                              Revenue Code; 26 U.S.C. ~ 7203:
                                                Willful Failure to File Tax
18 i                                            Return; 18 U.S.C. ~ 1344(1): Bank
                                                Fraud; 18 U.S.C. ~ 1028A(a)(1)
19                                              Aggravated Identity Theft; 18
                                                U.S.C. ~ 152(3): False Declaration
20                                              in Bankruptcy; 18 U.S.C. ~ 152(2):
                                                False Testimony Under Oath in
21                                              Bankruptcy; 18 U.S.C. § 2(b):
                                                Causing an Act to Be Done;
22                                              18 U.S.C. ~~ 981(a)(1) (C), 982,
                                                1028 and 28 U.S.C, ~ 2461(c):
23                                              Criminal Forfeiture]

P
.L]
            The Grand Jury charges:
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 1                                    COUNTS ONE THROUGH TEN

 2                                      [18 U.S.C. ~ 1343]

 3        A.    INTRODUCTORY ALLEGATIONS

 4              1.    At all relevant times:

 5                    a.     Defendant MICHAEL JOHN AVENATTI (~~AVENATTI") was a

 6        resident of Orange and Los Angeles Counties, within the Central

 7        District of California.

 8                    b.     Defendant AVENATTI was an attorney licensed to

 9        practice law in the State of California.         Defendant AVENATTI provided

10        legal services to clients in exchange for attorneys' fees.

11                    c.     Defendant AVENATTI practiced law through Eagan

12        Avenatti LLP (~~EA LLP") and Avenatti & Associates, APC (~~A&A")               EA

13        LLP and A&A's principal offices were located in Newport Beach and Los

14   ( Angeles, California.

15                    d.    A&A was a professional corporation organized in

16        California.      Defendant AVENATTI was A&A's Chief Executive Officer

17        ("CEO"), Secretary, Chief Financial Officer, and sole director.

18        Defendant AVENATTI owned 100 percent of A&A.

19   ~,               e.    EA LLP was a limited liability partnership organized

20   I'~ in California.       Defendant AVENATTI was EA LLP's managing member and

21   ( managing partner.          Through A&A, defendant AVENATTI owned at least 75

22        percent of EA LLP.

23                   f.      Defendant AVENATTI was also the effective owner and

24        controlled a number of other entities, including:

25                          i.    Global Baristas US LLC (~~GBUS"), which operated

26        Tully's Coffee (`~Tu11y's") stores in Washington and California;

27                          ii.   Global Baristas, LLC ("GB LLC"), which wholly

28        owned GBUS;

                                                  2
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 1                    iii. GB Autosport, LLC (~~GB Auto"), which managed

 2   defendant AVENATTI's car racing team; and

 3                    iv.   Passport 420, LLC (`Passport 420"), which held

 4   title to a private airplane defendant AVENATTI used.

 5              g.    Defendant AVENATTI was a signatory on and exercised

 6   control over the following bank accounts, which were all maintained

 7   in Orange and Los Angeles Counties, within the Central District of

 8   California:

 9                    i.    California Bank & Trust (~~CB&T") attorney trust

10   account ending in x8541 in the name of "The State Bar of California,

11   Eagan Avenatti LLP, Attorney Client Trust Fund" (~~EA Trust Account

12   8541").

13                    ii.   CB&T attorney trust account ending in x3714 in

14   the name of ~~The State Bar of California, Eagan Avenatti LLP,

15   Attorney Client Trust Account" (~~EA Trust Account 3714").

16                    iii. CB&T attorney trust account ending in x4613 in

17   the name of ~~State Bar of California, Eagan Avenatti LLP, Attorney

18   Client Trust Account" (~~EA Trust Account 4613").

19                    iv.   CB&T attorney trust account ending in x8671 in

20   the name of ~~The State Bar of California, Eagan Avenatti LLP,

21   Attorney Client Trust Account" (~~EA Trust Account 8671").

22                    v.    CB&T account ending in x2851 in the name of

23   ~~Eagan Avenatti LLP" (~~EA Account 2851").

24                    vi.   CB&T account ending in x8461 in the name of

25   ~~Eagan Avenatti LLP, Operating Account" (~~EA Account 8461").

26                    vii. CB&T account ending in x0313 in the name of

27   "Eagan Avenatti LLP, Debtor-in-Possession Case 8:17-BK-11961-CB,

28   General Account" (~~EA DIP Account 0313").

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 1                    viii.        CB&T account ending in x0661 in the name of

 2   ~~Avenatti & Assoc. A Professional Corp." (~~A&A Account 0661").

 3                    ix.     City National Bank ("CNB") attorney trust account

 4   ending in x5566 in the name of "Michael J. Avenatti, Attorney Client

 5   Trust Account" (~~Avenatti Trust Account 5566").

 6                    x.      CNB attorney trust account ending in x4705 in the

 7   name of ~~Michael J. Avenatti, Esq., Attorney Client Trust Account"

 8   (~~Avenatti Trust Account 4705").

 9                    xi.     CB&T account ending in x2240 in the name of

10   "Global Baristas US LLC, Operating Account" (~~GBUS Operating Account

11   2240").

12                    xii. CB&T account ending in x3730 in the name of

13   ~~Global Baristas LLC" (~~GB LLC Account 3730").

14              h.    Defendant AVENATTI was a signatory on and exercised

15   control over a KeyBank account ending in x6193 in the name of "Global

16   Baristas US LLC" (`~GBUS KeyBank Account 6193"), which was maintained

17   in Seattle, Washington.

18              i.    As a member of the State Bar of California, defendant

19   AVENATTI was obligated to comply with the California Rules of

20   Professional Conduct.      Defendant AVENATTI was required, among other

21   things, to promptly notify a client of the receipt of any funds the

22   client was entitled to receive, and to promptly pay or deliver to the

23   client or such payees as designated by the client any such funds that

24   defendant AVENATTI held in trust for the client upon the client's

25   request.

26              j.    Money transmitted through the Fedwire Funds Transfer

27   System (the "Fedwire system") was routed from its origin to its

28   destination through Texas and New Jersey.

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 1                k.   A "Special Needs Trust" was a specialized trust that

 2   allowed for a disabled person to maintain his or her eligibility for

 3   public assistance benefits, despite having assets that would

 4   otherwise make the person ineligible for those benefits.

 5         2.     `Client 1" was an individual who resided in Los Angeles

 6   County, within the Central District of California.           Beginning as

 7   early as in or about 2012 and continuing until in or about March

 8   2019, defendant AVENATTI and EA LLP had a formal attorney-client

 9   relationship with Client 1.       Specifically, defendant AVENATTI and EA

10   LLP agreed to represent Client 1 in connection with a lawsuit against

11   the County of Los Angeles and others, alleging violations of Client

12   1's constitutional rights that led to severe emotional distress and

13   severe physical injuries, including paraplegia (the "L.A. County

14   Lawsuit").

15         3.   `Client 2" was an individual who resided in Los Angeles

16   County, within the Central District of California.           Beginning as

17   early as in or about December 2016 and continuing until in or about

18   March 2019, defendant AVENATTI and EA LLP had a formal attorney-

19   client relationship with Client 2.          Specifically, defendant AVENATTI

20   and EA LLP agreed to represent Client 2 in connection with potential

21   litigation against an individual with whom Client 2 had a personal

22   relationship (`Individual 1").

23        4.    ~~Client 3" was an individual who resided in Orange County,

24   within the Central District of California.         Beginning as early as in

25   or about July 2014 and continuing until in or about November 2018,

26   defendant AVENATTI and EA LLP had a formal attorney-client

27   relationship with Client 3.       Specifically, defendant AVENATTI and EA

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 1   LLP agreed to represent Client 3 in connection with an intellectual

 2   property dispute against a Colorado-based company ("Company 1").

 3         5.   "Client 4" and "Client 5" were both individuals who resided

 4   in Los Angeles County, within the Central District of California.

 5   Beginning as early as in or about August 2017 and continuing until in

 6   or about August 2018, defendant AVENATTI had a formal attorney-client

 7   relationship with both Client 4 and Client 5.          Specifically,

 8   defendant AVENATTI agreed to represent both Client 4 and Client 5 in

 9   connection with their separation and divestment from one of the

10   companies in which Client 4 and Client 5 owned shares ("Company 2").

11   B.   THE SCHEME TO DEFRAUD

12        6.    Beginning as early as in or about January 2015 and

13   continuing through at least in or about March 2019, in Orange and Los

14   Angeles Counties, within the Central District of California, and

15   elsewhere, defendant AVENATTI, knowingly and with intent to defraud,

16   devised, participated in, and executed a scheme to defraud victim-

17   clients to whom defendant AVENATTI had agreed to provide legal

18   services, including, but not limited to, Client 1, Client 2, Client

19   3, Client 4, and Client 5, as to material matters, and to obtain

20   money and property from such victim-clients by means of material

21   false and fraudulent pretenses, representations, and promises, and

22   the concealment of material facts that defendant AVENATTI had a duty

23   to disclose.

24   C.   THE MANNER AND MEANS OF THE SCHEME TO DEFRAUD

25        7.    The fraudulent scheme operated, in substance, in the

26   following manner:

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 1                a.    Defendant AVENATTI would negotiate a settlement on

 2    behalf of a client that would require the payment of funds to the

 3    client.

 4                b.    Defendant AVENATTI would misrepresent, conceal, and

 5    falsely describe to the client the true terms of the settlement

 6    and/or the disposition the settlement proceeds.

 7                c.    Defendant AVENATTI would cause the settlement proceeds

 8    to be deposited in or transferred to attorney trust accounts

 9    defendant AVENATTI controlled.

10                d.    Defendant AVENATTI would embezzle and misappropriate

11    settlement proceeds to which he was not entitled.

12                e.    Defendant AVENATTI would lull the client to prevent

13    the client from discovering the embezzlement and misappropriation by,

14    among other things, falsely denying the settlement proceeds had been

15    paid, sending funds to the client under the false pretense that such

16    funds were "advances" on the purportedly yet-to-be received

17    settlement proceeds, and falsely claiming that payment of the

18    settlement proceeds to the client had been delayed for legitimate

19    reasons and would occur at a later time.

20                          Embezzlement of Client 1's Funds

21                f.   On or about January 21, 2015, defendant AVENATTI

22    negotiated a settlement of the L.A. County Lawsuit on behalf of

23    Client 1.    Under the terms of the negotiated settlement agreement,

24    the County of Los Angeles agreed to pay $4,000,000 to Client 1 in

25    exchange for Client 1 dismissing the L.A. County Lawsuit.            Client 1

26    was entitled to receive the $4,000,000 settlement payment, less EA

27    LLP's attorneys' fees, costs, and expenses.

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 1               g.    In or around January 2015, defendant AVENATTI told

 2   Client 1 that the County of Los Angeles had agreed to a settlement.

 3    Defendant AVENATTI falsely represented to Client 1 that the

 4   settlement agreement had to remain confidential, the County of Los

 5   Angeles could not pay the settlement to Client 1 in one lump-sum, and

 6   the settlement proceeds could not be paid until the County of Los

 7   Angeles approved a Special Needs Trust for Client 1.           In truth and in

 8   fact, as defendant AVENATTI then well knew, the settlement agreement

 9   did not contain a confidentiality provision, the County of Los

10   Angeles had agreed to make a lump-sum $4,000,000 settlement payment

11   to Client 1, and the settlement payment from the County of Los

12   Angeles was not conditioned on the approval of a Special Needs Trust

13   for Client 1.

14               h.   On or about January 26, 2015, defendant AVENATTI

15   caused the approximately $4,000,000 settlement payment to be

16   deposited into EA Trust Account 8541 to be held in trust for Client

17   1.   Knowing that the full settlement amount had been paid by the

18   County of Los Angeles, defendant AVENATTI concealed and failed to

19   disclose to Client 1 that EA LLP had received the $4,000,000

20   settlement payment.     Further, defendant AVENATTI and EA LLP retained

21   and did not transfer Client 1's portion of the settlement payment to

22   Client 1.

23               i.   Between on or about January 26, 2015, and on or about

24   March 30, 2015, defendant AVENATTI caused approximately $3,125,000 of

25   the $4,000,000 settlement payment to be transferred from EA Trust

26   Account 8541 to EA Account 2851.       Thereafter, defendant AVENATTI

27   ( caused substantial portions of the settlement proceeds to be

28   transferred from EA Account 2851 to A&A Account 0661, and then

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 1 (further transferred to other bank accounts defendant AVENATTI

 2   controlled, including defendant AVENATTI's personal bank account and

 3   bank accounts associated with GBUS and GB Auto, or used to pay

 4   defendant AVENATTI's personal expenses.          By no later than July 6,

 5   2015, defendant AVENATTI had drained all of the settlement proceeds

 6 l out of EA Trust Account 8541.       Defendant AVENATTI concealed and

 7 Mailed to disclose to Client 1 that the entire $4,000,000 settlement

 8   payment had been expended and that substantial portions of the

 9   settlement proceeds had been used for defendant AVENATTI's own

10   purposes.

11               j.    In order to lull Client 1 and prevent Client 1 from

12   discovering that defendant AVENATTI had embezzled Client 1's portion

13   of the $4,000,000 settlement payment, defendant AVENATTI committed

14   and caused to be committed the following acts:

15                     i.    Starting as early as in or about July 2015 and

16   continuing to in or about March 2019, defendant AVENATTI caused at

17   least 69 payments, each ranging from approximately $1,000 to

18   approximately $1,900 and together totaling at least approximately

19   $124,000, to be made to Client 1.          During this same time period,

20   ( defendant AVENATTI also caused payments to be made to various

21   assisted living facilities to pay for rent on Client 1's behalf.

22   Defendant AVENATTI falsely represented to Client 1 that the payments

23   made to Client 1 and to the assisted living facilities where Client 1

24   resided were "advances" on the settlement payment from the County of

25   Los Angeles, which defendant AVENATTI falsely represented had not yet

26   been received..

27                     ii.   In or about 2017, after Client 1 told defendant

28   AVENATTI that Client 1 wanted to purchase his own residence,

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 1   defendant AVENATTI agreed to help Client 1 find a real estate broker

 2   and purchase a house.      Defendant AVENATTI represented and promised to

 3   Client 1 that Client 1 would be able to use the settlement proceeds

 4   to fund the purchase of a house.        After Client 1 was in escrow on the

 5   purchase of a house, however, defendant AVENATTI falsely told Client

 6   1 that Client 1 could not purchase the house after all because the

 7   County of Los Angeles still had not approved the Special Needs Trust

 8   and therefore could not make the settlement payment to Client 1.

 9   Client 1 was unable to close escrow and did not purchase the house.

10                     iii. On or about November 26, 2018, defendant AVENATTI

11 M old Client 1 that defendant AVENATTI would respond on Client 1's

12   behalf to a request that Client 1 provide the United States Social

13   Security Administration ("SSA") information it requested to evaluate

14   Client 1's continued eligibility for Supplemental Security Income

15   ("SSI") benefits, including information regarding the settlement

16   agreement with the County of Los Angeles, the purported Special Needs

17   Trust, and the monthly payments from defendant AVENATTI.            Knowing

18 Mull well that the requested information could lead to inquiries that

19   could reveal that defendant AVENATTI had embezzled Client 1's portion

20   of the settlement proceeds, defendant AVENATTI failed to provide the

21   requested information to SSA, which resulted in Client 1's SSI

22   benefits being discontinued in or about February 2019.

23               k.    On or about March 22, 2019, defendant AVENATTI was

24   questioned regarding the alleged embezzlement of the Client 1

25 ( Settlement Proceeds during a public judgment-debtor examination

26   conducted in federal court in Los Angeles, California.            Shortly

27   thereafter, in order to lull Client 1 and prevent Client 1 from

28   discovering that defendant AVENATTI had embezzled Client 1's portion

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 1   of the $4,000,000 settlement, defendant AVENATTI falsely told Client

 2   1 that the County of Los Angeles had finally approved the Special

 3   Needs Trust for Client 1 and that Client 1 would begin receiving

 4   settlement payments from the County of Los Angeles through the

 5   Special Needs Trust.

 6               1.    In order to further lull Client 1 and to attempt to

 7   establish a defense against any claims Client 1 could bring against

 8   defendant AVENATTI, on or about March 23, 2019, and on or about March

     24, 2019, defendant AVENATTI caused Client 1 to sign a document

10   defendant AVENATTI claimed was necessary to effectuate the settlement

11   agreement and finalize the Special Needs Trust that defendant

12   AVENATTI claimed was required before Client 1 could begin receiving

13   payments due under the settlement, and a document stating that Client

14   1 was satisfied with defendant AVENATTI's representation of Client 1.

15                         Embezzlement of Client 2's Funds

16               m.    On or about January 7, 2017, defendant AVENATTI

17   negotiated a settlement on behalf of Client 2 with Individual 1.

18   Under the terms of the settlement agreement, Individual 1 was

19   required to make an initial payment to Client 2 of approximately

20   $2,750,000 by on or about January 28, 2017, and an additional payment

21   to Client 2 of approximately $250,000 on or about November 1, 2020,

22   if certain additional specified conditions were met, for a total of

23   approximately $3,000,000.       Client 2 was entitled to receive the

24   ' initial $2,750,000 settlement payment, less EA LLP's attorneys' fees

25   (i.e., 33 percent of the total $3,000,000 settlement amount), costs,

26   and expenses.

27               n.   In order to conceal the true details of the settlement

28   agreement from Client 2, defendant AVENATTI did not provide a copy of

                                            ail
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 1   the settlement agreement to Client 2.         Rather, in or about January

 2   2017, defendant AVENATTI falsely represented to Client 2 that

 3   Individual 1 would make an initial lump-sum payment, the entirety of

 4   which would be used to pay EA LLP's attorney fees (i.e., 33 percent

 5   of the total settlement amount) and costs, and then approximately 96

 6   monthly payments over the course of the next eight years by which the

 7   remaining settlement funds would be paid to Client 2.            In truth and

 8   in fact, as defendant AVENATTI then well knew, the actual settlement

 9   agreement required Individual 1 to make the initial $2,750,000

10 ' settlement payment, which far exceeded the money owed to EA LLP for

11   attorneys' fees, by on or about January 28, 2017, and Individual 1

12   was not required to make any monthly payments to Client 2 thereafter.

13               o.    On or about January 25, 2017, defendant AVENATTI

14   caused the initial $2,750,000 settlement payment from Individual 1 to

15   be transferred to EA Trust Account 8671 to be held in trust for

16   Client 2.    Defendant AVENATTI concealed and failed to disclose to

17   Client 2 that EA LLP had received the initial $2,750,000 settlement

18   payment.    Further, defendant AVENATTI and EA LLP retained and did not

19   transfer Client 2's portion of the $2,750,000 settlement payment to

20   Client 2.

21               p.    On or about January 26, 2017, defendant AVENATTI

22   caused $2,500,000 of the $2,750,000 settlement payment to be

23   transferred to an attorney trust account for another law firm ("Law

24   Firm 1")     That same day, defendant AVENATTI caused Law Firm 1 to

25   transfer the entire $2,500,000 to Honda Aircraft Company, LLC, to

26   purchase a private airplane for defendant AVENATTI's company,

27   Passport 420.     Defendant AVENATTI also caused the remaining $250,000

28   of the $2,750,000 settlement payment to be transferred first to EA

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 1   Account 2851 and then to A&A Account 0661.          Defendant AVENATTI

 2 ( concealed and failed to disclose to Client 2 that defendant AVENATTI

 3   had used the settlement proceeds in this manner.

 4               q.    In order to lull Client 2 and prevent Client 2 from

 5   discovering that defendant AVENATTI had embezzled Client 2's portion

 6   of the initial $2,750,000 settlement payment, defendant AVENATTI

 7   committed and caused to be committed the following acts:

 8                     i.    Between on or about March 15, 2017, and on or

 9   about June 18, 2018, defendant AVENATTI caused approximately 11

10   payments totaling approximately $194,000 to be deposited into Client

11   2's bank account.       Defendant AVENATTI falsely represented to Client 2

12   that these payments constituted the monthly settlement payments that

13   were purportedly due from Individual 1.         For example, on or about

14   February 20, 2018, defendant AVENATTI caused a $16,000 cashier's

15   check drawn on EA Account 4613 to be deposited into Client 2's bank

16   account, which falsely identified Individual 1 as the "remitter."

17                     ii.   Between in or about June 2018 and in or about

18   March 2019, after defendant AVENATTI stopped making the purported

19   monthly payments to Client 2, defendant AVENATTI falsely represented

20   to Client 2 that Individual 1 was not complying with the settlement

21   agreement and falsely told Client 2 that defendant AVENATTI was

22   working on obtaining the missing monthly settlement payments

23   purportedly due to Client 2 from Individual 1.

24                     iii. On or about March 24, 2019, at a meeting with

25 ( Client 2 at defendant AVENATTI's residence in Los Angeles,

26   California, defendant AVENATTI falsely represented to Client 2 that

27   Client 2 would soon be receiving a payment from Individual 1 to make

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 1    up for the purportedly missing monthly settlement payments from

 2    Individual 1 for July 2018 through March 2019.

 3                          Embezzlement of Client 3's Funds

 4                r.     Between on or about December 22, 2017, and on or about

 5    December 28, 2017, defendant AVENATTI negotiated a settlement

 6   agreement with Company 1 on behalf of Client 3.           The settlement

 7   agreement required Company 1 to make an initial payment of $1,600,000

 8   b y January 10, 2018, and three additional payments of $100,000 by

 9   January 10 of 2019, 2020, and 2021, respectively, for a total of

10   $1,900,000.       Client 3 was entitled to receive the initial $1,600,000

11   settlement payment, less EA LLP's attorneys' fees of $760,000 (i.e.,

12   ~ 40 percent of the total $1,900,000 settlement amount), costs, and

13   expenses.

14                s.    On or about December 28, 2017, at a meeting with

15   Client 3 at EA LLP's offices in Newport Beach, California, to discuss

16   the proposed settlement agreement with Company 1, defendant AVENATTI

17   , provided an altered copy of the settlement agreement to Client 3 for

18   ( Client 3's review, which copy falsely represented the payment

19   schedule as $1,600,000 due by March 10, 2018, and $100,000 due by

20   March 10 of each of the three subsequent years.          That same day,

21   defendant AVENATTI emailed the attorney for Company 1 the signature

22   page for the actual settlement agreement, bearing Client 3's

23   signature.

24                t.    On or about December 29, 2017, defendant AVENATTI

25   ! received a complete copy of the fully executed settlement agreement

26   with Client 3's and Company 1's signatures from Company 1's attorney,

27   which included the payment schedule that had actually been negotiated

28   b y defendant AVENATTI but had been concealed from Client 3, namely,

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 1 ~an initial $1,600,000 payment due by January 10, 2018, and additional

 2   payments of $100,000 due by January 10 of each of the three

 3   subsequent years.

 4               u.    On or about January 2, 2018, defendant AVENATTI

 5   emailed instructions to Company 1's attorney to wire the initial

 6   $1,600,000 settlement payment to Avenatti Trust Account 5566.

 7               v.    On or about January 5, 2018, as instructed by

 8   defendant AVENATTI, Company 1 wired the initial $1,600,000 settlement

 9   payment to Avenatti Trust Account 5566 to be held in trust for Client

10   3.   Defendant AVENATTI concealed and failed to disclose to Client 3

11   that defendant AVENATTI had received the initial $1,600,000

12   settlement payment from Company 1.          Further, defendant AVENATTI

13   retained Client 3's portion of the $1,600,000 settlement payment and

14   did not transfer Client 3's portion of the $1,600,000 settlement

15   payment to Client 3.

16               w.    Between on or about January 5, 2018, and on or about

17   March 14, 2018, defendant AVENATTI caused approximately $1,599,400 of

18   the initial $1,600,000 settlement payment to be used for his own

19   purposes, including to pay for expenses relating to GBUS.            Defendant

20   AVENATTI concealed and failed to disclose to Client 3 that defendant

21   AVENATTI used the settlement proceeds for his own purposes.

22               x.    In order to lull Client 3 and prevent Client 3 from

23   discovering that defendant AVENATTI had embezzled Client 3's portion

24   of the initial $1,600,000 settlement payment, defendant AVENATTI

25   committed and caused to be committed the following acts:

26                    i.    Between on or about March 10, 2018, and in or

27   about November 2018, defendant AVENATTI falsely represented to Client

28   3 that Company 1 had not made the initial $1,600,000 settlement

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 1   payment, and that defendant AVENATTI was working on obtaining the

 2   purportedly missing $1,600,000 settlement payment from Company 1.

 3                     ii.    Between in or about April 2018 and in or about

 4   November 2018, defendant AVENATTI caused multiple payments totaling

 5   approximately $130,000 to be paid to Client 3 and/or Client 3's

 6   spouse, which payments defendant AVENATTI falsely claimed represented

 7   "advances" on Client 3's portion of the $1,600,000 settlement payment

 8   from Company 1, so that Client 3 could meet certain financial

 9   obligations while Client 3 was purportedly "waiting" for his portion

10 ~ of the $1,600,000 settlement payment from Company 1.

11                           Embezzlement of Client 4's Funds

12               y.    On or about September 17, 2017, defendant AVENATTI

13   negotiated a "Common Stock Repurchase Agreement" with Company 2 on

14   behalf of Client 4 and Client 5.        Under the terms of Client 4's

15   Common Stock Repurchase Agreement, Company 2 agreed to repurchase

16   from Client 4 361,565 shares of Company 2 for approximately

17   $27,478,940, and thereafter an additional 107,188 shares of Company 2

18   for approximately $8,146,288, which resulted in a total repurchase

19   '. amount of approximately $35,625,228.

20               z.    On or about September 18, 2017, Company 2 wired

21   approximately $27,414,668 to Avenatti Trust Account 4705.

22   Approximately $2,787,651 of this amount constituted defendant

23   AVENATTI's and/or EA LLP's attorneys' fees (i.e., 7.5 percent of the

24   total $35,625,228 repurchase amount), costs, and expenses.            Between

25   on or about September 21, 2017, and on or about October 3, 2017,

26   defendant AVENATTI caused the remainder of the initial $27,414,668

27   payment to be transferred to bank accounts associated with Client 4.

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 1                 aa.   On or about March 13, 2018, after Company 2 informed

 2     Client 4 and Client 5 that Company 2 was ready to repurchase the

 3     remaining 107,188 shares of Company 2 from Client 4 as contemplated

 4     in the Common Stock Purchase Agreement, defendant AVENATTI told

 5     Client 5 that Company 2 should wire the remaining $8,146,288 payment

 6     due to Client 4 to Avenatti Trust Account 4705, and that defendant

 7     AVENATTI would then wire the $8,146,288 payment from Avenatti Trust

 8     Account 4705 to Client 4.

 9                 bb.   On or about March 14, 2018, following defendant

10     AVENATTI's instructions, Company 2 transferred approximately

11     $8,146,288 to Avenatti Trust Account 4705 to be held in trust for

12     Client 4.    Defendant AVENATTI retained and did not transfer the

13     $8,146,288 payment to Client 4 as defendant AVENATTI had promised to

14     do.

15 I               cc.   Between on or about March 15, 2018, and on or about

16     May 4, 2018, defendant AVENATTI caused approximately $4,000,000 out

17     of the $8,146,288 payment from Company 2 due to Client 4 to be used

18     for defendant AVENATTI's own purposes, including the following:

19                       i.    On or about March 15, 2018, defendant AVENATTI

~1~ caused approximately $3,000,000 of Client 4's funds to be transferred

~~ to EA Trust Account 4613.           Later that same day, defendant AVENATTI

~~ then caused approximately $2,828,423 to be transferred from EA Trust

23     Account 4613 to an attorney trust account for SulmeyerKupetz, a law

24     firm representing A&A and defendant AVENATTI in bankruptcy

25     proceedings involving EA LLP, so that SulmeyerKupetz could use the

26     money to pay some of EA LLP's creditors in the bankruptcy

27     proceedings, including the Internal Revenue Service.

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 1                         ii.   Between on or about March 20, 2018, and on or

 2       about May 1, 2018, defendant AVENATTI caused a total of approximately

 3       $780,000 of Client 4's funds to be paid to EA Trust Account 4613,

 4       which defendant AVENATTI then used for his own purposes, including

 5       transferring the funds to bank accounts associated with defendant

 6       AVENATTI's other companies, namely, GBUS, GB LLC, A&A, and Passport

 7   C~i.I1~

 8                         iii. Between on or about March 20, 2018, and May 1,

 9       2018, defendant AVENATTI caused a total of approximately $260,000 of

10       Client 4's funds to be paid to EA DIP Account 0313.

11                         iv.   In order to lull Client 1 and prevent Client 1

12       from discovering that defendant AVENATTI had embezzled Client 1`s

13       portion of the $4,000,000 settlement payment from the County of Los

14       Angeles, on or about April 9, 2018, defendant AVENATTI used Client

15       4's funds, which had been transferred from Avenatti Trust Account

16       4705 to EA DIP Account 0313 and then to EA Trust Account 4613, to

17       make an approximately $1,900 payment to Client 1.

18                         v.    In order to lull Client 2 and prevent Client 2

19       from discovering that defendant AVENATTI had embezzled Client 2's

20       portion of the $2,750,000 settlement payment from Individual 1, on or

21       about April 17, 2018, defendant AVENATTI used Client 4's funds, which

22       had been transferred from Avenatti Trust Account 4705 to EA Trust

23       Account 4613, to make an approximately $34,000 payment to Client 2.

24   ~               dd.   Between on or about March 14, 2018, and on or about

25       May 3, 2018, defendant AVENATTI failed to disclose to Client 4 and

26       Client 5 that defendant AVENATTI had used approximately $4,000,000 of

27       Client 4's funds for defendant AVENATTI's own purposes.

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 1               ee.   In order to lull Client 4 and Client 5 and prevent

 2   them from discovering that defendant AVENATTI had embezzled

 3   approximately $4,000,000 from the approximately $8,146,288 payment

 4   defendant AVENATTI received from Company 2, between on or about

 5   March 14, 2018, and on or about May 3, 2018, defendant AVENATTI

 6   falsely represented and promised Client 4 and Client 5 that defendant

 7   AVENATTI would transfer Client 4's funds to Client 4 at a later date,

 8   and that defendant AVENATTI needed to go to the bank to fill out

 9   paperwork to effectuate the wire transfers.          In truth and in fact, as

10   defendant AVENATTI then well knew, he had already caused

11   approximately $4,000,000 of Client 4's funds to be transferred or

12   paid to other bank accounts defendant AVENATTI controlled, and then

13   used for defendant AVENATTI's own purposes.

14               ff.   In order to lull Client 4 and Client 5 and prevent

15   them from discovering that he had embezzled approximately $4,000,000

16   of Client 4's funds, on or about May 4, 2018, defendant AVENATTI

17   caused two wire transfers in the amounts of $4,000,000 and $146,288

18   to be sent from Avenatti Trust Account 4705 to a bank account

19   associated with Client 4.       Defendant AVENATTI retained and failed to

20   transfer to Client 4 the remainder of the $8,146,288 payment that

21   Company 2 had transferred on or about March 14, 2018, to Avenatti

22   Trust Account 4705 for the benefit of Client 4.

23               gg.   Between on or about May 4, 2018, and on or about

24   June 4, 2018, defendant AVENATTI and another attorney with whom

25   defendant AVENATTI worked ("Attorney 1") falsely represented to

26   Client 4 and Client 5 that the entire $8,146,288 payment from Company

27   2 had been transferred to Client 4 in three separate wire transfers.

28   For example, in response to a request from Client 5 that defendant

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 1   AVENATTI provide the wire transfer information for the remaining

 2   $4,000,000 of Client 4's funds, on or about May 11, 2018, defendant

 3   AVENATTI emailed Attorney 1 a wire transfer confirmation document

 4   purporting to reflect a second $4,000,000 wire transfer to Client 4.

 5   In truth and in fact, as defendant AVENATTI then well knew, defendant

 6   AVENATTI had never transferred the remaining $4,000,000 to Client 4,

 7   defendant AVENATTI had already used the remaining $4,000,000 for his

 8   own purposes, and the wire transfer confirmation document that

 9   defendant AVENATTI provided on or about May 11, 2018, related to the

10   first $4,000,000 wire transfer from Avenatti Trust Account 4705 that

11   Client 4 had already received on May 4, 2018.

12   D.     THE USE OF THE WIRES

13          8.   On or about the following dates, within the Central

14   District of California, and elsewhere, defendant AVENATTI, for the

15   purpose of executing the above-described scheme to defraud,

16   transmitted and caused to be transmitted by means of wire and radio

17   communications in interstate commerce the following items:

18    COUNT       DATE             ITEM WIRED

19    ONE         1/30/2015        Wire transfer of approximately $250,000
                                   sent from A&A Account 0661 through the
20                                 Fedwire system to GBUS's Homestreet bank
                                   account in Seattle, Washington.
21
      TWO         2/10/2015       Wire transfer of approximately $50,000
22                                from A&A Account 0661 through the Fedwire
                                  s ystem to defendant AVENATTI's personal
23                                Bank of America bank account.

24    THREE       1/26/2017       Wire transfer of approximately $2,500,000
                                  from EA Trust Account 8671 through the
25                                Fedwire system to Law Firm 1's JP Morgan
                                  Chase Bank, N.A. (~~Chase") IOLTA trust
26                                account.

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 1    COUNT       DATE            ITEM WIRED

 2    FOUR        1/5/2018        Wire transfer of approximately $1,600,000
                                  sent from Company 1's Silicon Valley Bank
 3                                account through the Fedwire system to
                                  Avenatti Trust Account 5566.
 4
      FIVE        1/10/2018       Wire transfer of approximately $60,000
 5                                sent from Avenatti CNB Trust Account 5566
                                  through the Fedwire system to EA Trust
 6                                Account 3714.

 7    SIX         3/15/2018       Wire transfer of approximately $3,000,000
                                  from Avenatti Trust Account 4705 through
 8                                the Fedwire system to EA CB&T Trust
                                  Account 4613.
 9
      SEVEN       3/15/2018       Wire transfer of approximately $2,828,423
10                                from EA CB&T Trust Account 4613 through
                                  the Fedwire system to an attorney trust
11                                account for SulmeyerKupetz at CNB.

12    EIGHT       3/20/2018       Wire transfer of approximately $200,000
                                  from Avenatti CNB Trust Account 4705
13                                through the Fedwire system to EA Trust
                                  Account 4613.
14
      NINE        6/18/2018       Wire transfer of approximately $16,000
15                                from EA Trust Account 4613 through the
                                  Fedwire system to Client 2's Chase bank
16                                account.

17    TEN         7/13/2018       Wire transfer of approximately $1,900 from
                                  EA Trust Account 4613 through the Fedwire
18                                system to Client 1's Bank of America bank
                                  account.
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 1                            COUNTS ELEVEN THROUGH EIGHTEEN

 2                        [26 U.S.C. ~ 7202; 18 U.S.C. ~ 2(b)]

 3 I A.    INTRODUCTORY ALLEGATIONS

 4                                      Background

 5         9.     The Grand Jury re-alleges and incorporates by reference

 6   paragraph 1 through 7 of this Indictment as though fully set forth

 7   herein.

 8         10.    At all relevant times:

 9                a.     GBUS was a limited liability company organized in

10   Washington, which operated Tully's stores in Washington and

11   California.       Until in or around November 2017, GBUS's corporate

12   office was in Seattle, [n~ashington.

13                b.     GB LLC was a limited liability company organized in

14   Washington.       Defendant MICHAEL JOHN AVENATTI (~~AVENATTI") was the

15   sole managing member of GB LLC.

16                c.     GB Auto was a limited liability company organized in

17   Washington.       Defendant AVENATTI was the sole manager of GB Auto.

18                d.     Doppio, Inc. ("Doppio") was a for-profit corporation

19   incorporated in Washington.       Defendant AVENATTI was the sole governor

20   of Doppio.

21                e.    Defendant AVENATTI was the effective owner of GBUS.

22   In or around June 2013, defendant AVENATTI's company GB LLC acquired

23   TC Global Inc., which previously operated Tully's, at a bankruptcy

24   auction for approximately $9.15 million, namely, $6.95 million in

25   cash and $2.2 million in assumed liabilities.          On or about June 25,

26   2013, defendant AVENATTI caused a wire transfer in the amount of

27   $7,000,000 from EA Trust Account 8541 to a bank account for Foster

28   Pepper PLLC, the law firm representing GB LLC in Tully's bankruptcy

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 1   auction.     A&A owned 100 percent of Doppio, which in turn owned at

 2   least 80 percent of GB LLC.       GB LLC wholly owned GBUS, which handled

 3   the day-to-day business operations of Tully's.

 4               f.    Defendant AVENATTI served as GBUS's CEO, for which he

 5   was paid a yearly salary of approximately $250,000.           As GBUS's CEO,

 6   defendant AVENATTI exercised control over every aspect of GBUS's

 7   business affairs, including approving payments GBUS made and

 8   controlling GBUS's bank accounts.        Defendant AVENATTI managed and

 9   exercised control over GBUS's business affairs from Orange and Los

10   Angeles Counties, within the Central District of California, and

11 I elsewhere.

12                g.   The Internal Revenue Service ("IRS") was an agency of

13   the United States within the Department of Treasury of the United

14   States and was responsible for enforcing and administering the tax

15   laws of the United States.

16         11.    Beginning in or about February 2015 and continuing until at

17   least in or about July 2018, GBUS maintained multiple bank accounts

18   at CB&T in Orange County, California, including GBUS's payroll

19   account ending in x2976 ("GBUS Payroll Account 2976") and GBUS

20   Operating Account 2240.      Defendant AVENATTI and an EA LLP employee

21   ("EA Employee 1") were the only signatories on GBUS Payroll Account

22   2976 and GBUS Operating Account 2240.

23         12.   In addition to defendant AVENATTI's yearly salary as GBUS's

24   CEO, between as early as in or about September 2015 and continuing

25   until at least in or about December 2017, defendant AVENATTI caused

26   GBUS to make substantial payments for defendant AVENATTI's personal

27   benefit and the benefit of other entities defendant AVENATTI

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 1   controlled, while, at the same time, failing to pay over to the IRS

 2   payroll taxes withheld from GBUS employees' paychecks.            For example:

 3               a.    Between on or about September 1, 2015, and on or about

 4   December 31, 2017, defendant AVENATTI caused a net of approximately

 5   $2.5 million to be transferred from GBUS's and GB LLC's bank accounts

 6 I to bank accounts associated with A&A and EA LLP.

 7               b.    On or about March 30, 2016, defendant AVENATTI caused

 8   GBUS to transfer $200,000 to the G.P. Family Trust as payment for two

 9   months of rent for defendant AVENATTI's residence in Newport Beach,

10 ( California.

11               c.    In order to lull Client 1 and prevent Client 1 from

12   discovering that defendant AVENATTI had embezzled Client 1's portion

13   of the $4,000,000 settlement payment from the County of Los Angeles,

14   on or about April 7, 2016, defendant AVENATTI used GBUS funds, which

15   had been transferred from GBUS Account 2240 to EA Account 2851, to

16   make an approximately $1,900 payment to Client 1.

17               d.    In order to lull Client 2 and prevent Client 2 from

18 ' discovering that defendant AVENATTI had embezzled Client 2's portion

19   of the initial $2,750,000 settlement payment from Individual 1,

20   defendant AVENATTI caused GBUS funds to be used to make payments to

21   Client 2, including the following:

22                     i.    On or about April 14, 2017, defendant AVENATTI

23   used GBUS funds, which had 'been transferred from GBUS Account 2240 to

24   A&A Account 0661, to make an approximately $16,000 payment to Client

25   2.

26                    ii.   On or about May 15, 2017, defendant AVENATTI used

27   GBUS funds, which had been transferred from GBUS Account 2240 to A&A

28   Account 0661, to make an approximately $16,000 payment to Client 2.

                                             .'►~!
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 1                                Federal Pavroll Taxes

 2         13.    At all relevant times:

 3                a.   Title 26 of the United States Code imposed four types

 4   of tax with respect to wages paid to employees:           (1) income tax;

 5   (2) Social Security tax; (3) Medicare tax; and (4) federal

 6   unemployment tax (collectively, "payroll taxes").

 7                b.   Federal income tax was imposed upon employees based

 8   upon the amount of wages they received.

 9                c.   Social Security tax and Medicare tax were imposed by

10   the Federal Insurance Contributions Act (collectively referred to as

11   "FICA taxes").     FICA taxes were imposed separately on employees and

12 i on employers.

13                d.   Federal unemployment tax was imposed under the Federal

14   Unemployment Tax Act (~~FUTA").       FUTA taxes were imposed solely on

15   employers.

16           GBUS's Obligation to Collect, Truthfully Account For, and

17                     Pav Over to the IRS Federal Payroll Taxes

18         14.    At all relevant times:

19                a.   GBUS was required to withhold employee income taxes

20   and FICA taxes from the wages paid to its employees, and to pay over

21   the withheld amounts to the IRS.        The employee income taxes and FICA

22   '. taxes that GBUS was required to withhold and pay over to the IRS were

23   commonly referred to as "trust fund taxes" because of the provision

24   in the Internal Revenue Code requiring that such taxes "shall be held

25   to be a special fund in trust for the United States."

26               b.    GBUS was required to make deposits of payroll taxes,

27   including trust fund taxes, to the IRS on a periodic basis.            In

28   addition, GBUS was required to file, following the end of each

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 1 ~~calendar quarter, an Employer's Quarterly Federal Tax Return (Form

 2 ~~941), setting forth for the quarter the total amount of wages and

 3    other compensation subject to withholding paid by GBUS, the total

 4    amount of income tax withheld, the amount of Social Security and

 5    Medicare taxes (i.e., FICA taxes) due, and the total federal tax

 6 ~~ deposits.

 7                c.   Defendant AVENATTI was a ~~responsible person" for

 8   GBUS, that is, defendant AVENATTI had the corporate responsibility to

 9   collect, truthfully account for, and pay over to the IRS GBUS's

10   payroll taxes.

11         15.    Beginning in or about June 2013 and continuing until at

12   least in or about October 2017, GBUS withheld tax payments from its

13   employees' paychecks, including federal income taxes and FICA taxes.

14         16.    Beginning in or about September 2015 and continuing until

15   at least in or about October 2017, GBUS failed to pay over to the IRS

16   payroll taxes due and owing, including federal income taxes and FICA

17   taxes GBUS withheld from its employees' paychecks.           In total, between

18   in or around September 2015 and in or around October 2017, GBUS

19   failed to pay over to the IRS at least approximately $3,207,144 in

20   federal payroll taxes, including at least approximately $2,390,048 in

21   trust fund taxes that GBUS withheld from its employees' paychecks.

22         17.    Beginning in or about January 2016 and continuing until at

23   least in or about October 2017, GBUS failed to timely file its

24   quarterly employment tax returns (Forms 941) with the IRS for the

25   fourth quarter of 2015 through the third quarter of 2017, inclusive.

26   B.    FAILURE TO ACCOUNT FOR AND PAY OVER PAYROLL TAXES

27         18.    Beginning in or about October 2015 and continuing until at

28   least on or about October 31, 2017, in Orange County, within the

                                            26
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 1   Central District of California, and elsewhere, defendant AVENATTI, a

 2   responsible person of GBUS, willfully failed and willfully caused

 3   GBUS to fail to pay over to the United States, namely, the IRS, all

 4   of the federal income taxes and FICA taxes (i.e., trust fund taxes)

 5   that GBUS withheld from GBUS employees' total taxable wages, which

 6   were due and owing to the United States by the dates set forth below

 7   and in the amounts set forth below, for each of the following

 8   calendar year quarters:

 9       COUNT     QUARTER AND YEAR       QUARTERLY       APPROXIMATE TRUST FUND
                                          DUE DATE          TABS DUE AND OWING
10
      ELEVEN        Fourth Quarter        1/31/2016               $292,724
11                     of 2015

12    TWELVE        First Quarter         4/30/2016               $382,100
                       of 2016
13
      THIRTEEN      Second Quarter        7/31/2016               $297,791
14                     of 2016

15    FOURTEEN      Third Quarter        10/31/2016               $333,969
                       of 2016
16
      FIFTEEN       Fourth Quarter        1/31/2017               $277,681
17                     of 2016

18    SIXTEEN       First Quarter         4/30/2017               $309,702
                       of 2017
19
      SEVENTEEN     Second Quarter       7/31/2017                $345,094
20                     of 2017
21    EIGHTEEN      Third Quarter        10/31/2017               $150,989
                       of 2017
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 1                                    COUNT NINETEEN

 2                               [26 U.S.C. ~ 7212(a)]

 3   A.    INTRODUCTORY ALLEGATIONS

 4         19.   The Grand Jury re-alleges and incorporates by reference

 5   paragraphs 1 through 7 and 10 through 17 of this Indictment as though

 6   fully set forth herein.

 7         20.   In or about September 2016, the IRS initiated a collection

 8   action relating to GBUS's failure to file its quarterly employment

 9   tax returns (Forms 941) and pay over to the IRS payroll taxes that

10   were due and owing, including federal income taxes and FICA taxes

11   that GBUS had withheld (collectively, "trust fund taxes") from GBUS

12   employees' paychecks.

13         21.   On or about October 7, 2016, an IRS Revenue Officer (~~IRS

14   RO-1") spoke with defendant MICHAEL JOHN AVENATTI (~~AVENATTI") and

15   other GBUS employees regarding the IRS's collection action and

16   advised them that since approximately September 2015 GBUS had not

17   I~, paid over to the IRS any federal payroll taxes.

18         22.   On or about June 26, 2017, IRS RO-1 filed a notice of

19   federal tax lien against GBUS in King County in the State of.

20   Washington.    The federal tax lien indicated that GBUS owed the IRS

21   approximately $4,998,227 in unpaid federal payroll taxes.            A copy of

22   the federal tax lien notice was also mailed to GBUS.

23         23.   Between in or about August 2017 and in or about January

24   2018, IRS RO-1 issued levy notices to a number of financial

25   institutions and companies associated with GBUS.          The levy notices

26 ~ indicated that GBUS owed the IRS as much as approximately $5,210,769.

27   Each levy notice required the recipient of the levy notice to turn

     over to the United States Treasury GBUS's property and rights to

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 1   property, such as money, credits, and bank deposits, that the

 2   recipient of the levy had or was already obligated to pay to GBUS.

 3   Banks, savings and loans, and credit unions were obligated to hold

 4   any funds subject to the levy notices for 21 days before sending

 5   payment to the United States Treasury.         Copies of the levy notices

 6   issued by IRS RO-1 were mailed to GBUS.

 7         24.   Beginning as early as in or about August 2017, defendant

 8   AVENATTI knew that the IRS had issued levies to certain financial

 9   institutions at which GBUS maintained bank accounts.

10 I B.    THE ATTEMPT TO OBSTRUCT AND IMPEDE THE ADMINISTRATION OF THE

11         INTERNAL REVENUE LAWS

12         25.   Beginning on or about October 7, 2016, and continuing until

13   at least in or around September 2018, in Orange and Los Angeles

14   Counties, within the Central District of California, and elsewhere,

15   defendant AVENATTI corruptly obstructed and impeded, and corruptly

16   endeavored to obstruct and impede, the due administration of the

17   internal revenue laws of the United States.

18         26.   The attempt to obstruct and impede the due administration

19   of the internal revenue laws of the United States operated, in

20   substance, in the following manner:

21               a.    On or about October 7, 2016, defendant AVENATTI made

22   false statements to IRS RO-1 in connection with the IRS's collection

23   action, including that:      (i) defendant AVENATTI was not personally

24   involved in GBUS's finances; and (ii) defendant AVENATTI was unaware

25   that since approximately September 2015 GBUS had failed to pay over

~~ to the IRS any federal payroll taxes.           In truth and in fact, as

27   defendant AVENATTI then well knew, (i) defendant AVENATTI was

     personally involved in GBUS's finances in that he had authority to

                                            ~%7
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 1   approve payments on behalf of GBUS and had control over GBUS's bank

 2   accounts; and (ii) defendant AVENATTI was aware that since

 3   approximately September 2015 GBUS had failed to pay over to the IRS

 4   any federal payroll taxes because, among other reasons, on or about

 5   November 5, 2015, GBUS's controller had sent defendant AVENATTI an

 6   email explaining to defendant AVENATTI the "implications" of GBUS not

 7   paying to the IRS its payroll taxes in a timely manner, and, between

 8   in or about September 2015 and in or about October 2016, defendant

 9   AVENATTI had refused to authorize GBUS to pay over to the IRS the

10   federal payroll taxes that GBUS had withheld from its employees'

11   paychecks.

12                b.   In order to further obstruct and impede the IRS's

13   collection action and the IRS's efforts to collect the payroll taxes

14   that GBUS owed to the IRS, defendant AVENATTI directed GBUS employees

15   to stop depositing cash receipts from the Tully's stores into GBUS

16 ~ KeyBank Account 6193, which defendant AVENATTI knew was already

17   subject to IRS levy notices, and instructed GBUS employees to instead

18   deposit all cash receipts from Tully's stores into a little-used Bank

19   of America account for a separate entity defendant AVENATTI

20   controlled, GB Auto.      Defendant AVENATTI did so by, among other acts,

21   the following:

22                     i.    In or about September 2017, defendant AVENATTI

23   directed and instructed a GBUS employee ("GBUS Employee 1") to tell

24   the Tully's stores that the stores could no longer make cash deposits

25   into GBUS KeyBank Account 6193 and should hold all of the stores'

26   cash deposits.

27                     ii.    On or about September 7, 2017, defendant

28   AVENATTI sent GBUS Employee 1 a text message containing the bank

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 1   account information for the GB Auto account at Bank of America (the

 2   "GB Auto Account"), in order to cause the cash deposits from the

 3   Tully's stores to be made into the GB Auto Account.

 4                     iii. On or about September 18, 2017, after receiving a

 5   text message from GBUS Employee 1 asking if the Tully's stores were

 6   able to deposit at KeyBank yet, defendant AVENATTI responded via text

 7   message "Not yet but hopefully in next two days.           Can you collect

 8   deposits tmrw and deposit pls?"

 9                     iv.   On or about September 28, 2017, defendant

10   AVENATTI sent a text message to GBUS Employee 1 and another GBUS

11   employee ("GBUS Employee 2"), asking, "When are we depositing again?"

12   and, later that same day, another text message, stating, "It is

13   important that these deposits be made regularly.           Thanks."

14                     v.    Between on or about September 7, 2017, and in or

15   !, about December 2017, GBUS Employee 1, acting at defendant AVENATTI's

16   direction, made approximately 27 cash deposits totaling approximately

17   $859,784 into the GB Auto Account.          After approximately 24 of the

18   cash deposits, GBUS Employee 1 sent defendant AVENATTI a text message

19   attaching a photograph of the deposit slip.

20               c.    In order to further obstruct and impede the IRS's

21   collection action and the IRS's efforts to collect the payroll taxes

22   that GBUS owed to the IRS, defendant AVENATTI caused GBUS's credit

23   card processing company, TSYS Merchant Solutions ("TSYS"), to change

24   the company name, Employer Identification Number ("EIN"), and bank

25   account information associated with GBUS's merchant credit card

26   processing accounts (~~merchant accounts"), which defendant AVENATTI

27   knew were already subject to IRS levy notices.          Defendant AVENATTI

28   did so by, among other acts, the following:

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 1                      i.    On or about September 28, 2017, defendant

 2   AVENATTI received an email from GBUS Employee 2, which stated, among

 3   other things, ~~9.25.17 tsys - $22,135.19 IRS levy."

 4                      ii.   On or about September 29, 2017, defendant

 5   AVENATTI received an email from GBUS Employee 2 titled ~~Levies,"

 6   which stated that "IRS took as [sic] additional $23,763.02 from tsys

 7   yesterday."

 8                      iii. On or about September 29, 2017, defendant

 9   AVENATTI directed a TSYS representative (~~TSYS Rep. 1") to change the

10   company name associated with the merchant accounts from "Global

11   Baristas US LLC" to "Global Baristas, LLC" and to change the EIN from

12 I GBUS's EIN to GB LLC's EIN.

13                      iv.   On or about October 2, 2017, defendant AVENATTI

14   sent TSYS Rep. 1 an email regarding changes to the merchant accounts

15   and said "we need this done ASAP."

16                      v.    On or about October 3, 2017, defendant AVENATTI

17   entered into a new Merchant Transaction Processing Agreement with

18   TSYS on behalf of GB LLC.

19                      vi.   On or about October 3, 2017, defendant AVENATTI

20   and EA Employee 1 opened a new bank account, GB LLC Account 3730, for

21   GB LLC at CB&T in Orange County, California.          Later that day, EA LLP

22   Employee 1 emailed TSYS Rep. 1 the bank account and routing number

23   for GB CB&T Account 3730, which was to be the new bank account into

24   which the proceeds of the credit card transactions were to be

25 I~ deposited.

26                 d.   In order to further obstruct and impede the IRS's

27   collection action and the IRS's efforts to collect the payroll taxes

     that GBUS owed to the IRS, in or about December 2017, after TSYS

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 1   closed GBUS and GB LLC's merchant accounts, defendant AVENATTI caused

 2   GBUS to open new merchant accounts with Chase for the Tully's stores

 3   under the name GB LLC and directed Chase to deposit all credit card

 4   receipts in to GB LLC Account 3730.

 5                e.   In order to further obstruct and impede the IRS's

 6   efforts to collect the payroll taxes that GBUS owed to the IRS,

 7   defendant AVENATTI changed the name of the contracting party on

 8   various contracts with The Boeing Company (`Boeing"), which had

 9   agreed to allow GBUS to operate Tully's stores at Boeing facilities

10   in Washington.     Defendant AVENATTI did so by, among other acts, the

11   following:

12                     i.    In or about November 2016, approximately one

13   month after defendant AVENATTI learned of the IRS's collection

14   action, defendant AVENATTI caused the contracting party's name on a

15   contract with Boeing to be changed from "Global Baristas US LLC" to

16   ~~GB Hospitality LLC," even though, as defendant AVENATTI then well

17   knew, GBUS operated the Tully's stores at the Boeing facilities and

18   "GB Hospitality LLC" had never been registered with any government

19   agency and had never operated.

20                     ii.   In or about September 2017 and in or about

21   October 2017, after IRS RO-1 had issued levy notices to Boeing and

22   numerous financial institutions at which GBUS maintained accounts,

23   defendant AVENATTI, having agreed on behalf of GBUS to sell Boeing

24   two Tully's coffee kiosks and - other Tully's equipment in exchange for

25   a payment from Boeing of approximately $155,010 and forgiveness of

26 ' certain debts, directed a Boeing attorney to change the seller's name

27   from "GB Hospitality, LLC" to "Global Baristas, LLC" on the two bills

28   of sales relating to the transaction.         Defendant AVENATTI further

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 1   instructed Boeing to transfer the approximately $155,010 payment to

 2   EA Trust Account 8671, rather than to GBUS's bank account.             Defendant

 3   AVENATTI then transferred the approximately $155,010 payment from EA

 4   Trust Account 8671 to A&A Account 0661, from which defendant AVENATTI

 5   used a substantial portion of the proceeds of the sale for defendant

 6   AVENATTI's personal purposes, including to: (1) transfer

 7   approximately $15,000 to a personal bank account; (2) pay

 8   approximately $13,073 for rent at defendant AVENATTI's residential

     apartment in Los Angeles, California; and (3) pay approximately

10   $8,459 that defendant AVENATTI owed to Neiman Marcus.

11               f.    After learning of the IRS's collection action,

12   defendant AVENATTI used GBUS funds that should and could have been

13   used to pay over to the IRS federal incomes taxes and FICA taxes that

14   had been withheld from GBUS employees' paychecks for his own personal

15   benefit and the benefit of other entities defendant AVENATTI

16   controlled, including, but not limited to, the following:

17                     i.    Between in or about October 2016 and in or about

18   December 2017, defendant AVENATTI caused a net of approximately $1.6

19   million to be transferred from GBUS's and GB LLC's bank accounts to

20   bank accounts associated with defendant AVENATTI's other companies,

21   namely, A&A and EA LLP.

22                     ii.   In order to lull Client 1 and prevent Client 1

23   I~ from discovering that defendant AVENATTI had embezzled Client 1's

24   portion of the $4,000,000 settlement payment from the County of Los

25   Angeles, defendant AVENATTI used GBUS funds, including credit card

26   receipts from Tully's stores that Chase deposited into GB LLC Account

27   3730, to make the following additional payments to Client l:

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 1                           (I)   On or about January 19, 2018, defendant

 2   AVENATTI used GBUS funds, which had been transferred from GB LLC

 3   Account 3730 and/or KeyBank Account 6193 to EA Trust Account 3714, to

 4   make an approximately $1,900 payment to Client 1.

 5                           (II) On or about February 15, 2018, defendant

 6   AVENATTI used GBUS funds, which had been transferred from GB LLC

 7   Account 3730 and/or GBUS KeyBank Account 6193 to EA Trust Account

 8   4613, to make an approximately $1,900 payment to Client 1.

 9                     iii. In order to lull Client 2 and prevent Client 2

10   from discovering that defendant AVENATTI had embezzled Client 2's

11   portion of the initial $2,750,000 settlement payment from Individual

12   1, defendant AVENATTI used GBUS funds, including credit card receipts

13   from Tully's stores that Chase deposited into GB LLC Account 3730, to

14   make the following additional payments to Client 2:

15                           (I)   On or about January 16, 2018, defendant

16   AVENATTI used GBUS funds, which had been transferred from GB LLC

17   Account 3730 and/or GBUS KeyBank Account 6193 to EA Trust Account

18   1 3714, to make an approximately $16,000 payment to Client 2.

19                           (II) On or about February 20, 2018, defendant

20   AVENATTI used GBUS funds, which had been transferred from GB LLC

21   Account 3730 and/or GBUS KeyBank Account 6193 to EA Trust Account

22   4613, to make an approximately $16,000 payment to Client 2.

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 1                        COUNTS TWENTY THROUGH TWENTY-THREE

 2                                 [26 U.S.C. ~ 7203]

 3   A.    INTRODUCTORY ALLEGATIONS

 4           27.   The Grand Jury re-alleges and incorporates by reference

 5   paragraphs 1 through 7, 10 through 17, 20 through 24, and 26 of this

 6   Indictment as though fully set forth herein.

 7           28.   On or about October 15, 2010, defendant MICHAEL JOHN

 8   AVENATTI (~~AVENATTI") filed his U.S. Individual Income Tax Return

 9   (Form 1040) for the 2009 calendar year, which claimed defendant

10   AVENATTI had total income of $1,939,942 and that defendant AVENATTI

11   owed the IRS approximately $569,630 in taxes for the 2009 calendar

12   year.     Defendant AVENATTI, however, did not pay the remaining tax due

13   for the 2009 calendar year until November 2015, when he sold his

14   residence in Laguna Beach, California, upon which there was an IRS

15   tax lien.

16         29.     On or about October 11, 2011, defendant AVENATTI filed his

17   U.S. Individual Income Tax Return (Form 1040) for the 2010 calendar

18   year, which claimed defendant AVENATTI had total income of $1,154,800

19   and that defendant AVENATTI owed the IRS approximately $281,786 in

20   taxes for the 2010 calendar year.        Defendant AVENATTI, however, did

21   not pay the remaining taxes due to the IRS for the 2010 calendar year

22   until November 2015, when he sold his residence in Laguna Beach,

23   California, upon which there was an IRS tax lien.

24         30.     The 2010 Form 1040 was the last U.S. Individual Income Tax

25   Return defendant AVENATTI filed with the IRS.

26   B.    THE WILLFUL FAILURES TO FILE TAX RETURNS

27         31.     During the calendar years set forth below, defendant

28   AVENATTI, who resided in Orange and Los Angeles Counties, within the

                                             36
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 1    Central District of California, had and received gross income in

 2    excess of the amounts (~~threshold gross income amounts") set forth

 3    below.     By reason of such gross income, defendant AVENATTI was

 4    required by law, following the close of each of the calendar years

 5    set forth below and on or before the dates set forth below ("due

 6    dates"), to make an income tax return to the IRS Center, at Fresno,

 7    California, to a person assigned to receive returns at the local

 8    office of the IRS in the Central District of California, or to

 9 l another IRS officer permitted by the Commissioner of the Internal

10 ( Revenue, stating specifically the items of his gross income and any

11    deductions and credits to which he was entitled.           Well knowing and

12    believing all of the foregoing, defendant AVENATTI willfully failed,

13    on or about the due dates set forth below, in the Central District of

14    California and elsewhere, to make an income tax return.

15       COUNT        CALENDAR         THRESHHOLD                 DUE DATE
                        YEAR          GROSS INCOME
16                                       AMOUNT

17     TWENTY           2014             $20,300        October 15, 2015,
                                                        pursuant to a request for
~S~                                                     an automatic extension of
                                                        time filed on defendant
19                                                      AVENATTI's behalf

20     TWENTY-          2015             $20,600        October 17, 2016,
       ONE                                              pursuant to a request for
21                                                      an automatic extension of
                                                        time filed on defendant
22                                                      AVENATTI's behalf

23     TWENTY-          2016             $20,700        April 15, 2017
       TWO
24
       TWENTY-          2017             $20,800        April 16, 2018
25     THREE
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 1                      COUNTS TWENTY-FOUR THROUGH TWENTY-SIX

 2                                 [26 U.S.C. ~ 7203]

 3   A.     INTRODUCTORY ALLEGATIONS

 4          32.   The Grand Jury re-alleges and incorporates by reference

 5    paragraphs 1 through 7, 10 through 17, 20 through 24, 26, and 28

 6    through 30 of this Indictment as though fully set forth herein.

 7          33.   On or about March 17, 2014, EA LLP filed its 2011 U.S.

 8    Return of Partnership Income federal tax return (Form 1065), and

 9    defendant MICHAEL JOHN AVENATTI (~~AVENATTI") signed the return on or

10    about March 12, 2014, as the general partner or member manager.            The

11    return listed A&A as the designated Tax Matters Partner (~~TMP")

12    before the IRS, and defendant AVENATTI as the TMP representative.

13          34.   On or about October 8, 2014, EA LLP filed its 2012 U.S.

14   Return of Partnership Income federal tax return (Form 1065), and

15   defendant AVENATTI signed the return on or about October 1, 2014, as

16   the general partner or member manager.         The return listed A&A as the

17   designated TMP before the IRS.

18          35.   The 2012 Form 1065 for EA LLP was the last U.S. Return of

19    Partnership Income for EA LLP filed with the IRS.

20   I B.   THE WILLFUL FAILURES TO FILE TAX RETURNS

21          36.   During the calendar years set forth below, defendant

22   AVENATTI conducted a business as a partnership under the name of EA

23   LLP, with its principal place of business in Orange County, within

24   the Central District of California.          Defendant AVENATTI therefore was

25   required by law, following the close of each of the calendar years

26   set forth below and on or before the dates set forth below ("due

~I dates"), to make, for and on behalf of the partnership, a partnership

     return of income to the IRS Center, at Ogden, Utah, to a person

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 1    assigned to receive returns at the local office of the IRS in the

 2    Central District of California, or to another IRS officer permitted

 3    b y the Commissioner of the Internal Revenue, stating specifically the

 4    items of the partnership's gross income and the deductions and

 5    credits allowed by law.      Well knowing and believing all of the

 6    foregoing, defendant AVENATTI willfully failed, on or about the due

 7    dates set forth below, in the Central District of California and

 8    elsewhere, to make a partnership return.

 9       COUNT        CALENDAR                          DUE DATE
                        YEAR
10
       TWENTY-          2015       September 15, 2016., pursuant to a request
11     FOUR                        for an automatic extension of time filed on
                                   EA LLP's behalf.
12
       TWENTY-          2016       September 15, 2017, pursuant to a request
13     FIVE                        for an automatic extension of time filed on
                                   EA LLP's behalf.
14
       TWENTY-          2017        March 15, 2018.
15     SIX

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 1                     COUNTS TWENTY-SEVEN THROUGH TWENTY-NINE

 2                                 [26 U.S.C. § 7203]

 3   A.    INTRODUCTORY ALLEGATIONS

 4         37.   The Grand Jury re-alleges and incorporates by reference

 5   paragraphs 1 through 7, 10 through 17, 20 through 24, 26, 28 through

 6 ~ 30, and 33 through 35 of this Indictment as though fully set forth

 7   T herein.

 8         38.   On or about September 15, 2010, defendant MICHAEL JOHN

 9   AVENATTI (~~AVENATTI") filed a 2009 U.S. Income Tax Return for an S

10   Corporation (Form 11205) for A&A, which claimed A&A had total income

11   of $3,391,224 and ordinary business income of $1,578,558 for the 2009

12   calendar year.     The return listed defendant AVENATTI as the President

13   of A&A.

14         39.   On or about September 30, 2011, defendant AVENATTI filed a

15   2010 U.S. Income Tax Return for an S Corporation (Form 11205) for

16   A&A, which claimed A&A had total income of $1,421,028 and ordinary

17   business income of $821,634 for the 2010 calendar year.            The return

18   listed defendant AVENATTI as the President of A&A.

19         40.   The 2010 Form 11205 for A&A was the last U.S. Income Tax

20   Return for an S Corporation (Form 11205) that defendant AVENATTI

21   filed for A&A with the IRS.

22   B.    THE WILLFUL FAILURE TO FILE TAX RETURN

23         41.   During the calendar years set forth below, defendant

24   AVENATTI was the President and CEO of A&A, with its principal place

25   of business in Orange County, within the Central District of

26   California.    Defendant AVENATTI therefore was required by law,

27   following the close of each of the calendar years set forth below and

28   on or before the dates set forth below ("due dates"), to make an

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 1    income tax return, for and on behalf of the corporation, to the IRS

 2    Center, at Ogden, Utah, to a person assigned to receive returns at

 3    the local office of the IRS in the Central District of California, or

 4    to another IRS officer permitted by the Commissioner of the Internal

 5    Revenue, stating specifically the items of the corporation's gross

 6    income and the deductions and credits allowed by law.            Well knowing

 7    and believing all of the foregoing, defendant AVENATTI willfully

 8    failed, on or about the due dates set forth below, in the Central

 9    District of California and elsewhere, to make an income tax return at

10    the time required by law.

11       COUNT        CALENDAR                          DUE DATE
                        YEAR
12
       TWENTY-          2015        September 15, 2016, pursuant to a request
13     SEVEN                        for an automatic extension of time filed on
                                    A&A's behalf.
14
       TWENTY-          2016        September 15, 2017, pursuant to a request
15     EIGHT                        for an automatic extension of time filed on
                                    A&A's behalf.
16
       TWENTY-          2017        March 15, 2018.
17     NINE

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 1                            COUNTS THIRTY AND THIRTY-ONE

 2                            [18 U.S.C. ~~ 1344(1), 2(b)]

 3   A.    INTRODUCTORY ALLEGATIONS

 4         42.   The Grand Jury re-alleges and incorporates by reference

 5   paragraphs 1, 10, 28 through 30, 33 through 35, and 38 through 40 of

 6   this Indictment as though fu11y set forth herein.

 7         43.   Between in or about January 2014 and in or about April

 8   2016, defendant MICHAEL JOHN AVENATTI (~~AVENATTI") operated and

 9   controlled GB LLC and EA LLP from EA LLP's offices in Newport Beach,

10   California.

11         44.   At all times relevant to this Indictment, The Peoples Bank

12   was a financial institution located in Biloxi, Mississippi, the

13   accounts and deposits of which were insured by the Federal Deposit

14   Insurance Corporation.

15   B.    THE SCHEME TO DEFRAUD

16         45.   Beginning in or about January 2014, and continuing through

17   in or about April 2016, in Orange County, within the Central District

18   of California, and elsewhere, defendant AVENATTI, together with

19   others known and unknown to the Grand Jury, knowingly and with intent

20   to defraud, executed and attempted to execute a scheme to defraud The

21   Peoples Bank as to material matters.

22         46.   The fraudulent scheme operated, in substance, in the

23   following manner:

24               a.    Between in or about January 2014 and in or about

25   December 2014, defendant AVENATTI sought and obtained the following

26   three loans from The Peoples Bank on behalf of the following

27   companies that defendant AVENATTI controlled:

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 1                     i.    In or about January 2014, defendant AVENATTI

 2   sought and obtained a $850,000 loan to GB LLC (the "January 2014 GB

 3   LLC Loan");

 4                     ii.   In or about March 2014, defendant AVENATTI sought

 5   and obtained a $2,750,000 loan to EA LLP (the ~~March 2014 EA LLP

 6   Loan"), from which defendant AVENATTI used approximately $884,166 to

 7   pay off the January 2014 GB LLC Loan; and

 8                     iii. In or about December 2014, defendant AVENATTI

 9   sought and obtained a $500,000 loan to EA LLP (the ~~December 2014 EA

10   LLP Loan").

11               b.    In order to obtain the March 2014 EA LLP Loan and the

12   December 2014 EA LLP Loan from The Peoples Bank, defendant AVENATTI

13   omitted and concealed material facts, and provided The Peoples Bank

14   with materially false financial information, including, but not

15   limited to, false and fraudulent individual and partnership tax

16   returns, and false and fraudulent balance sheets and financial

17   statements, as described below.

18               c.    In support of the application for the March 2014 EA

IL•~ LLP Loan, defendant AVENATTI submitted to The Peoples Bank a 2011

f~.Z11 U.S. Individual Income Tax Return (Form 1040) (the `Peoples Bank 2011

21   Form 1040") stating that defendant AVENATTI had an adjusted gross

22   income for the 2011 calendar year of approximately $4,562,881, and

23   had a tax due and owing to the IRS for the 2011 calendar year of

24   a pproximately $1,506,707.      In truth and in fact, as defendant

25   AVENATTI then well knew, defendant AVENATTI had not filed the Peoples

26   Bank 2011 Form 1040 with the IRS, had not filed any 2011 U.S.

27   Individual Income Tax Return with the IRS, and had not paid to the

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 1   IRS the $1,506,707 defendant AVENATTI purportedly owed for the 2011

 2   calendar year.

 3               d.     In support of the application for the March 2014 EA

 4   LLP Loan, on or about March 11, 2014, defendant AVENATTI submitted to

 5   The Peoples Bank a personal financial statement as of March 11, 2014,

 6   in which defendant AVENATTI failed to disclose to The Peoples Bank

 7   that defendant AVENATTI still owed the IRS approximately $850,438 in

 8   unpaid personal income taxes, plus interest and penalties, for the

 9   2009 and 2010 calendar years.

10               e.     In support of the application for the March 2014 EA

11   LLP Loan, on or about March 11, 2014, defendant AVENATTI submitted to

12 ~ The Peoples Bank a Balance Sheet for January 2014 through March 10,

13 ' 2014 for EA LLP, which stated, among other things, that EA LLP had

14   approximately $508,299 in its operating account, EA Account 8461, as

15   of March 10, 2014.      In truth and in fact, as defendant AVENATTI then

16   well knew, the balance in EA Account 8461 as of March 10, 2014, was

17   a pproximately $43,013.

18               f.     In support of the application for the March 2014 EA

19   LLP Loan, on or about March 13, 2014, defendant AVENATTI submitted to

20   The Peoples Bank a 2012 U.S. Partnership Return (Form 1065) for EA

21   LLP (the ~~Peoples Bank 2012 Form 1065"), which stated that in the

22   2012 calendar year EA LLP had total income of approximately

23   $11,426,021, and ordinary business income of approximately

24   $5,819,458.      In truth and in fact, as defendant AVENATTI then well

25   knew, the Peoples Bank 2012 Form 1065, had not been filed with the

26   IRS.   Rather, in or about October 2014, defendant AVENATTI caused a

27   different 2012 U.S. Partnership Return (Form 1065) to be filed with

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 1   the IRS (the ~~IRS 2012 Form 1065"), which differed materially from

 2   the Peoples Bank 2012 EA 1065 in the following ways:

 3                     i.    The Peoples Bank 2012 Form 1065 stated that in

 4 '~, the 2012 calendar year EA LLP had total income of approximately

 5   $11,426,021, whereas the IRS 2012 Form 1065 stated that in the 2012

 6   calendar year EA LLP had gross receipts and total income of

 7   approximately $6,212,605.

 8                     ii.   The Peoples Bank 2012 Form 1065 stated that in

 9   the 2012 calendar year EA LLP had ordinary business income of

10   approximately $5,819,458, whereas the IRS 2012 Form 1065 stated that

11   EA LLP had an ordinary business loss of approximately $2,128,849.

12               g.    In reliance on the false and fraudulent information

13   defendant AVENATTI submitted to The Peoples Bank in support of the

14   March 2014 EA LLP Loan, on or about March 14, 2014, The Peoples Bank

15   approved the March 2014 EA LLP Loan and transferred approximately

16   $1,824,584 to EA Account 8461.

17               h.    In support of the application for the December 2014 EA

18 ~ LLP Loan, on or about November 16, 2014, defendant AVENATTI submitted

19   to The Peoples Bank a Balance Sheet for January 2014 through

20   September 2014 for EA LLP, which stated, among other things, that EA

21 ! LLP had approximately $712,729 in EA Account 8461 as of September 30,

22   2014.   In truth and in fact, as defendant AVENATTI then well knew,

23   the balance in EA Account 8461 as of September 30, 2014, was

24   approximately $27,710.

25               i.    In support of the application for the December 2014 EA

26   LLP Loan, on or about November 22, 2014, defendant AVENATTI submitted

27   to The Peoples Bank a personal financial statement as of November 1,

28   2014, in which defendant AVENATTI failed to disclose to The Peoples

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 1   Bank that defendant AVENATTI still owed the IRS approximately

 2   $850,438 in unpaid personal income taxes, plus interest and

 3   penalties, for the 2009 and 2010 calendar years.

 4               j.    In support of the application for the December 2014 EA

 5   LLP Loan, on or about December 1, 2014, defendant AVENATTI submitted

 6   to The Peoples Bank a 2012 U.S. Individual Income Tax Return (Form

 7   1040) (the "Peoples Bank 2012 Form 1040"), stating that defendant

 8   AVENATTI had total income for the 2012 calendar year of approximately

 9   $5,423,099, and had paid to the IRS $1,600,000 in estimated tax

10   payments.    In truth and in fact, as defendant AVENATTI then well

11   knew, defendant AVENATTI had not filed the Peoples Bank 2012 Form

12   1040 with the IRS, had not filed any 2012 U.S. Individual Income Tax

13   Return with the IRS, and had not made any payments to the IRS towards

14   his 2012 individual tax liability.

15               k.    In support of the application for the December 2014 EA

16   LLP Loan, on or about December 1, 2014, defendant AVENATTI submitted

17   to The Peoples Bank a 2013 U.S. Individual Income Tax Return (Form

18   1040) (the "Peoples Bank 2013 Form 1040"), stating that defendant

19   AVENATTI had total income for the 2013 calendar year of approximately

20   $4,082,803, and had paid to the IRS approximately $1,250,000 in

21   estimated tax payments and approximately $103,511 in withholdings.

22   In truth and in fact, as defendant AVENATTI then well knew, defendant

23   AVENATTI had not filed the Peoples Bank 2013 Form 1040 with the IRS,

24   had not filed any 2013 U.S. Individual Income Tax Return with the

25   IRS, had not made any estimated tax payments to the IRS towards his

26   2013 individual tax liability, and did not have any tax withholdings

27   during the 2013 calendar year.

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 1               1.    In order to obtain the December 2014 EA LLP Loan, on

 2   or about December 12, 2014, defendant AVENATTI, on behalf of EA LLP,

 3   signed a commercial pledge agreement whereby EA LLP agreed to

 4   "Assignment of the First $500,000 Plus Interest of Settlement

 5   Proceeds in the Meridian related cases, said attorney's fees to be

 6   $10.8 million plus out of pocket costs for class counsel [EA LLP]."

 7   On or about March 31, 2015, after EA LLP received a $3,034,514 wire

 8   transfer from the trustee of the Meridian settlement, defendant

 9   AVENATTI concealed and did not disclose, and caused EA LLP to conceal

10   and not disclose, the receipt of the funds to The Peoples Bank, and

11   did not distribute and caused EA LLP not to distribute the first

12   $500,000 to The Peoples Bank as defendant AVENATTI on behalf of EA

13   LLP had agreed to do.

14               m.    In reliance on the false and fraudulent information

15   defendant AVENATTI submitted to The Peoples Bank in support of the

16   March 2014 EA LLP Loan and the December 2014 EA LLP Loan, on or about

17   December 12, 2014, The Peoples Bank approved the December 2014 EA LLP

18   Loan and transferred approximately $494,500 to EA Account 8461.

19   C.    EXECUTIONS OF THE SCHEME TO DEFRAUD

20         47.   On or about the dates set forth below, in Orange County,

21   within the Central District of California, and elsewhere, defendant

22   AVENATTI, together with others known and unknown to the Grand Jury,

23   executed the fraudulent scheme by committing and willfully causing

24   others to commit the following acts:

25    COUNT       DATE           ACT

26    THIRTY      3/14/2014      Receipt of March 2014 EA LLP Loan proceeds in
                                 the amount of approximately $1,824,584.
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 1    COUNT       DATE           ACT

 2    THIRTY-      12/12/2014    Receipt of December 2014 EA LLP Loan proceeds
      ONE                        in the amount of approximately $494,500.
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 1                                   COUNT THIRTY-TWO

 2                         [18 U.S.C. ~~ 1028A(a) (1), 2(b)]

 3         48.   The Grand Jury re-alleges and incorporates by reference

 4   paragraphs 1, 10, 28 through 30, 33 through 35, 38 through 40, and 43

 5   through 46 of this Indictment as though fully set forth herein.

 6         49.   On or about December 1, 2014, in Orange County, within the

 7   Central District of California, and elsewhere, defendant MICHAEL JOHN

 8   AVENATTI (~~AVENATTI") knowingly transferred, possessed, and used, and

 9   willfully caused to be transferred, possessed, and used, without

10   lawful authority, a means of identification that defendant AVENATTI

11   knew belonged to another person, namely, the name and preparer tax

12   identification number (~~PTIN") of M.H., during and in relation to the

13   offense of Bank Fraud, a felony violation of Title 18, United States

14   ( Code, Section 1344(1), as charged in Count Thirty-One of this

15   Indictment.

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 1                                 COUNT THIRTY-THREE

 2                            [18 U.S.C. ~~ 152(3), 2(b)]

 3   A.    INTRODUCTORY ALLEGATIONS

 4         50.   The Grand Jury re-alleges and incorporates by reference

 5   paragraphs 1 through 7 of this Indictment as though fully set forth

 6   herein.

 7         51.   In or about February 2016, J.F., a former partner at EA

 8   LLP, filed an arbitration claim against EA LLP and defendant MICHAEL

 9   JOHN AVENATTI (~~AVENATTI")       In or about February 2017, the

10   arbitration panel ordered the depositions of defendant AVENATTI and

11   EA Employee 1 to take place on March 3, 2017.

12         52.   On or about March 1, 2017, a creditor of EA LLP, filed an

13   involuntary Chapter 11 bankruptcy petition against EA LLP in the

14   Middle District of Florida.       By law, the filing of the bankruptcy

15   petition created an automatic stay under Section 362 of Title 11 of

16   the arbitration between J.F. and EA LLP and defendant AVENATTI.

17         53.   On or about March 8, 2017, in response to an emergency

18   motion filed by J.F. for relief from the automatic stay, the

19   Bankruptcy Court in the Middle District of Florida ordered that

20 , unless EA LLP consented to the bankruptcy by March 10, 2017, the

21   Court would grant relief from the automatic stay and thereby allow

22   the arbitration to proceed.

23         54.   On or about March 10, 2017, EA LLP consented to an order

24   for relief under Chapter 11 of Title 11 and, as a result, EA LLP

25   became a debtor in possession in bankruptcy.

26         55.   On or about April 11, 2017, defendant AVENATTI certified

27   and declared under penalty of perjury as the managing partner of EA

28   LLP that the United States Trustee Financial Requirements Checklist,

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 1   Certifications, and any Attachments Thereto, were true and correct to

 2   the best of his knowledge and belief.         Defendant AVENATTI on behalf

 3   of EA LLP further certified that he had "read and underst ood] the

 4   United States Trustee Chapter 11 `Operating Guidelines and Reporting

 5   Requirements for Debtors in Possession and Trustees"' and "agree[d]

 6   to perform in accordance with said guidelines and requirements."

 7   Specifically, defendant AVENATTI certified as the managing partner of

 8   EA LLP that he understood, among other things, that EA LLP was

 9   required to: (a) close all pre-petition bank accounts controlled by

10   the debtor, EA LLP; (b) immediately open new debtor-in-possession

11   ("DIP") operating, payroll, and tax accounts; and (c) deposit all

12   business revenues into the DIP operating account.

13         56.   On or about April 20, 2017, the EA LLP Chapter 11

14   bankruptcy was transferred from the Middle District of Florida to the

15   Central District of California as In re: Eagan Avenatti LLP, bearing

16   case number 8:17-bk-11961-CB.       In the bankruptcy case, EA LLP was the

17   debtor in possession, and all property and assets in which the debtor

18   had any ownership or interest at the time of the filing of the

19   bankruptcy petition as well as any interest in property that the

20   debtor acquired after the commencement of the bankruptcy case was the

21   "bankruptcy estate," and was under the management and control of the

22   debtor in possession.

23         57.   On or about May 12, 2017, the Office of the United States

24   Trustee in the Central District of California provided defendant

25   AVENATTI the Guidelines and Requirements for Chapter 11 Debtors in

26   Possession (the ~~Guidelines and Requirements"), which required EA LLP

27   I to close all existing bank accounts and open new DIP general,

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 1   payroll, and tax bank accounts, and to file a declaration regarding

 2   EA LLP's compliance with the Guidelines and Requirements.

 3         58.   On or about May 30, 2017, defendant AVENATTI signed under

 4   penalty of perjury as the managing partner of EA LLP a "Declaration

 5   of Debtor Regarding Compliance with the United States Trustee

 6   Guidelines and Requirements for Chapter 11 Debtors in Possession,"

 7   which included the following information:

 8               a.    Defendant AVENATTI, on behalf of EA LLP, confirmed

 9   that EA LLP had closed all pre-petition bank accounts, and provided

10   the account information for EA LLP's three new DIP bank accounts.

11               b.    Defendant AVENATTI, on behalf of EA LLP, provided the

12   United States Trustee with evidence that EA LLP had closed EA LLP's

13   prior general account and opened three new DIP bank accounts.

14               c.    In response to the requirement that EA LLP list the

15   last two years for which EA LLP filed federal and state tax returns,

16   defendant AVENATTI, on behalf of EA LLP, stated that neither "[t]he

17   Debtor nor its accountant has copies of its 2014 and 2015 federal or

18   state income tax returns.       The Debtor will seek to obtain copies of

19 . them from the IRS and the State of California."

20         59.   Pursuant to the Guidelines and Requirements, EA LLP had

21   additional and ongoing requirements during the course of the

22   bankruptcy, including the following:

23               a.    Before any insiders, including the owners, partners,

!
~ officers, directors, and shareholders of EA LLP and relatives of

'f insiders, could receive compensation from the bankruptcy estate, EA
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26   LLP was required to provide notice to the creditors and the United

27   States Trustee.     No such compensation could be paid to any insiders

28   until 15 days after service of the notice and (i) no objection had

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 1   been received by the Bankruptcy Court; or (ii) if an objection had

 2   been received, the Bankruptcy Court had resolved the objection.

 3               b.    EA LLP was required to file Monthly Operating Reports

 4   ("MOR") to include, among other things, ~~information regarding bank

 5   accounts over which the debtor ha[d] possession, custody, control,

 6   access or signatory authority, even if the account [was] not in the

 7   debtor's name and whether or not the account contained] only post-

 8   petition income."      EA LLP was "required to report all of [its]

 9   financial information in the MOR."

10         60.   From on or about May 25, 2017, through on or about February

11   15, 2018, defendant AVENATTI signed under penalty of perjury and

12   filed MORs for EA LLP for eleven months, namely, March 2017 through

13   January 2018, inclusive, which included the following information:

14               a.    The first page of each MOR stated that ~~All receipts

15   must be deposited into the general account," and required EA LLP to

16   itemize: (i) the beginning balance of the general account for the

17   month at issue; (ii) all receipts EA LLP obtained during the month;

18   (iii) all of the disbursements EA LLP made during the month,

19   including transfers to other DIP accounts; and (iv) the ending

20   balance of the general account for the month at issue.

21               b.    Each MOR required EA LLP to include all receipts and

22   expenditures during the monthly reporting period, as well as the

23   cumulative post-petition amounts.        On all eleven MORs that defendant

24   AVENATTI signed under penalty of perjury on behalf of EA LLP,

25   defendant AVENATTI claimed zero payroll was made to insiders.

26   Immediately above the penalty of perjury declaration, each MOR sought

27   answers to several questions, including whether EA LLP provided

28   compensation or remuneration to any officers, directors, principals,

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 1   or other insiders without appropriate authorization during the

 2   reporting period.     On all eleven MORs that defendant AVENATTI signed

 3   under penalty of perjury on behalf of EA LLP, defendant AVENATTI

 4   answered ~~no" to the question whether any compensation or

 5 '~ remuneration was made to any officers, directors, principals, or

 6 b other insiders.

 7 I B.    FALSE DECLARATION

 8         61.   On or about June 19, 2017, in Orange County, within the

 9   Central District of California, defendant AVENATTI knowingly and

10   fraudulently made and willfully caused to be made a materially false

11   declaration and statement under penalty of perjury within the meaning

12   of Title 28, United States Code, Section 1746, in and in relation to

13 ~ a case under Title 11 of the United States Code, namely, In re: Eagan

14   Avenatti LLP, No. 8:17-bk-11961-CB in United States Bankruptcy Court

15   for the Central District of California, by submitting and declaring

16 ' under penalty of perjury to be true and complete the Monthly

17   Operating Report for EA LLP for the period May 1, 2017, through

18   May 30, 2017 (the "May 2017 MOR"), in which defendant AVENATTI, as

19   the Managing Partner for EA LLP, falsely stated that EA LLP's

20   "Receipts During Current Period; Accounts Receivable - Post Filing"

21   were $409,953.70, whereas, in truth and in fact, as defendant

22   AVENATTI then well knew, EA LLP's receipts during the May 2017 MOR

23   period, accounts receivable - post filing were greater than

24   $409,953.70.

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 1                                  COUNT THIRTY-FOUR

 2                             [18 U.S.C. ~ 152(3), 2(b)]

 3         62.   The Grand Jury re-alleges and incorporates by reference

 4   paragraphs 1 through 7 and 51 through 60 of this Indictment as though

 5   fully set forth herein.

 6         63.   On or about October 16, 2017, in Orange County, within the

 7   Central District of California, defendant MICHAEL JOHN AVENATTI

 8   ("AVENATTI") knowingly and fraudulently made and willfully caused to

 9   be made a materially false declaration and statement under penalty of

10   perjury within the meaning of Title 28, United States Code, Section

11   1746, in and in relation to a case under Title 11 of the United

12   States Code, namely, In re: Eagan Avenatti LLP, No. 8:17-bk-11961-CB

13   in United States Bankruptcy Court for the Central District of

14   California, by submitting and declaring under penalty of perjury to

15   be true and complete the Monthly Operating Report for EA LLP for the

16   period September 1, 2017, through September 30, 2017 ("September 2017

17   MOR"), in which defendant AVENATTI, as the Managing Partner for EA

18   LLP, falsely stated that EA LLP's ~~Receipts During Current Period;

19   Accounts Receivable - Post Filing" were $829,635.28, whereas, in

20   truth and in fact, as defendant AVENATTI then well knew, EA LLP's

21   receipts during the September 2017 MOR period, accounts receivable -

22   post filing were greater than $829,635.28.

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 1                                  COUNT THIRTY-FIVE

 2                             [18 U.S.C. ~ 152(3), 2(b)]

 3         64.   The Grand Jury re-alleges and incorporates by reference

 4   paragraphs 1 through 7 and 51 through 60 of this Indictment as though

 5   fully set forth herein.

 6         65.   On or about February 15, 2018, in Orange County, within the

 7   Central District of California, defendant MICHAEL JOHN AVENATTI

 8   ("AVENATTI") knowingly and fraudulently made and willfully caused to

 9   be made a materially false declaration and statement under penalty of

10   perjury within the meaning of Title 28, United States Code, Section

11   1746, in and in relation to a case under Title 11 of the United

12   States Code, namely, In re: Eagan Avenatti LLP, No. 8:17-bk-11961-CB

13   in United States Bankruptcy Court for the Central District of

14   California, by submitting and declaring under penalty of perjury to

15   be true and complete the Monthly Operating Report for EA LLP for the

16   period January 1, 2018, through January 31, 2018 (`January 2018

17   MOR"), in which defendant AVENATTI, as the Managing Partner for EA

18   LLP, falsely stated that EA LLP's "Receipts During Current Period;

19   Accounts Receivable - Post Filing" were $232,221.11, whereas, in

20   truth and in fact, as defendant AVENATTI then well knew, EA LLP's

21   receipts during the January 2018 MOR period, accounts receivable -

22   post filing were greater than $232,221.11.

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 1                                   COUNT THIRTY-SIX

 2                                [18 U.S.C. ~ 152(2)]

 3         66.   The Grand Jury re-alleges and incorporates by reference

 4   paragraphs 1 through 7 and 51 through 60 of this Indictment as though

 5   fully set forth herein.

 6         67.   On or about June 12, 2017, in Orange County, within the

 7   Central District of California, defendant MICHAEL JOHN AVENATTI

 8   ("AVENATTI") knowingly and fraudulently made a false oath as to a

 9   material matter in and in relation to a case under Title 11 of the

10   United States Code, namely, In re: Eagan Avenatti LLP, No. 8:17-bk-

11   11961-CB in United States Bankruptcy Court for the Central District

12   of California, in that defendant AVENATTI testified under oath at the

13   Section 341(a) debtor's examination and stated "no" when asked

14   whether the debtor, EA LLP, received any counsel fees from the Super

15   Bowl NFL litigation.      In truth and in fact, as defendant AVENATTI

16   well knew at the time he made the false oath, defendant AVENATTI and

17   EA LLP had received fees from the Super Bowl NFL litigation, namely,

18   two wire transfers totaling approximately $1,361,000, including

19   attorneys' fees, on or about May 17, 2017.

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 1                              FORFEITURE ALLEGATION ONE

 ~1               [18 U.S.C. ~ 981(a)(1)(C) and 28 U.S.C. ~ 2461(c)]

 3          68.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4    Procedure, notice is hereby given that the United States of America

 5    will seek forfeiture as part of any sentence, pursuant to Title 18,

 6    United States Code, Section 981(a)(1)(C) and Title 28, United States

 7    Code, Section 2461(c), in the event of the defendant's conviction of

 8    the offenses set forth in any of Counts One through Ten, Thirty,

 9    Thirty-One, or Thirty-Three through Thirty-Six of this Indictment.

10          69.    Defendant shall forfeit to the United States of America the

11    following:

12                 a.   all right, title, and interest in any and all

13    property, real or personal, constituting or derived from any proceeds

14    obtained, directly or indirectly, as a result of the offense, or

15    property traceable to such proceeds; and

16                b.    To the extent such property is not available for

17    forfeiture, a sum of money equal to the total value of the property

18    described in subparagraph (a).

19          70.   Pursuant to Title 21, United States Code, Section 853(p),

20    as incorporated by Title 28, United States Code, Section 2461(c), the

21    defendant shall forfeit substitute property, up to the value of the

22    property described in the preceding paragraph if, as the result of

23    any act or omission of the defendant, the property described in the

24    preceding paragraph or any portion thereof (a) cannot be located upon

25    the exercise of due diligence; (b) has been transferred, sold to, or

26    deposited with a third party; (c) has been placed beyond the

27    jurisdiction of the court; (d) has been substantially diminished in

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 1   value; or (e) has been commingled with other property that cannot be

 2   divided without difficulty.

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 1                              FORFEITURE ALLEGATION TWO

 2               [18 U.S.C. ~~ 982 and 1028, and 28 U.S.C. ~2461(c)]

 3         71.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5    will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Sections 982 and 1028, and Title 28, United

 7   States Code, Section 2461(c), in the event of defendant's conviction

     of the offense set forth in Count Thirty-Two of this Indictment.

 s         72.   Defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11               a.    All right, title and interest in any and all property,

12   real or personal, constituting or derived from any proceeds obtained,

13   directly or indirectly, as a result of the offense, and any property

14   traceable thereto;

15               b.    Any personal property used or intended to be used to

16 ~ commit the offense; and

17               c.    To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20         73.   Pursuant to Title 21, United States Code, Section 853(p),

21   as incorporated by Title 18, United States Code, Sections 982(b) and

22   1028(g), the defendant, if so convicted, shall forfeit substitute

23   property, up to the total value of the property described in the

24   preceding paragraph if, as the result of any act or omission of the

25   defendant, the property described in the preceding paragraph, or any

26   portion thereof: (a) cannot be located upon the exercise of due

27   diligence; (b) has been transferred, sold to or deposited with a

28   third party; (c) has been placed beyond the jurisdiction of the

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     1     court; (d) has been substantially diminished in value; or (e) has

     2     been commingled with other property that cannot be divided without

     3     difficulty.

     4                                              A TRUE BILL
     5

     6
                                                    Foreperson
     7

     8     NICOLA T. HANNA
           United States Attorney
     9

 10

11         LAWRENCE S. MIDDLETON
           Assistant United States Attorney
12         Chief, Criminal Division

13         RANEE A. KATZENSTEIN
           Assistant United States Attorney
14         Chief, Major Frauds Section

15         JULIAN L. ANDRE
           Assistant United States Attorney
16         Major Frauds Section

17         BRETT A. SAGEL
           Assistant United States Attorney
18         Santa Ana Branch Office

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